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                                                        Exhibit B
                                                  Statement of Claim
                                                  Plaintiff Mohan Ram

Unpaid Overtime and Minimum Wages
                              Average                FLSA     Minimum Applicable Total          Total
                                        Average                                                              Total
                     Weeks¹
                              Weekly               Equivalent  Wage    Overtime Unpaid         Unpaid
      Period¹                           Weekly                                                            Liquidated
                               Hours                 Hourly    Hourly   Hourly Minimum       Overtime
                                         Pay¹                                                             Damages¹
                              Worked¹                Rate¹     Rate¹    Rate¹    Wages¹       Wages¹
10/31/22 - 11/4/22   0.7                $      -   $     -    $ 11.00 $ 16.50 $ 440.00       $    58.93   $   498.93
                                61
  4/2/22 - 10/30/22 30.3                $ 1,000.00 $ 16.39            $ 24.59 $       -      $ 5,212.02   $ 5,212.02
                                                                                 $ 440.00    $ 5,270.95   $ 5,710.95

                                                                        Total Unpaid Minimum Wages¹ =     $    440.00
                                                                        Total Unpaid Overtime Wages¹ =    $ 5,270.95
                                                                           Total Liquidated Damages¹ =    $ 5,710.95
                                                                                               Total¹ =   $ 11,421.90




¹ Numbers are averages, estimates, and/or approximates. Numbers may change as information is uncovered through the
discovery process.
